Case 3:19-mc-80005-SK Document 8-3 Filed 03/26/19 Page 1 of 7




       Exhibit B
                                          Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
"WHAT GIFT CAN WE GIVE TO JEHOVAH?" ... gu...
                                                                              Filed 03/26/19 Page 2 of 7


         MY SUBREDDITS          POPULAR - ALL - RANDOM - USERS | ASKREDDIT - WORLDNEWS - VIDEOS - FUNNY - TODAYILEARNED - PICS - GAMING - MOVIES - NEWS - GIFS - MILDLYINTERESTING - AWW - SHOWERTHOUGHTS - JOKES - SCIENCE - OLDSCHOOLCOOL MORE »

                                                                                                                                                                                                                           Reset | No Memes/Selfies
                                                                                                                                                                                                                            Selfie Filter: Hide | Only
                                                                                                                                                                                                                            Meme Filter: Hide | Only




                                      comments                                                                                                                                                         Want to join? Log in or sign up in seconds. | English



             Welcome to Reddit.
             Where a community about your favorite things is
             waiting for you.

                BECOME A REDDITOR                     and subscribe to one of thousands of communities.


                                          "WHAT GIFT CAN WE GIVE TO JEHOVAH?" ... guess what? ... WT Magazine NOVEMEBER 2018,
                                   JW Policy
           99                     Full Backpage 'Advert' (self.exjw)
                                  submitted 7 months ago by [deleted]



                                      [deleted]

                                  94 comments


          all 94 comments                                                                                                                                                                  search
          sorted by: best
                                                                                                                                                                                          this post was submitted on 02 Aug 2018

                                              Want to add to the discussion?                                                                                                              99 points (100% upvoted)
                                                     Post a comment!                                                                                                                      shortlink: https://redd.it/943s0v


                                                        CREATE AN ACCOUNT
                                                                                                                                                                                            username                        password

                [–] Fulgarite   Fabian Strategy Warrior     70 points 7 months ago
                                                                                                                                                                                               remember me       reset password
                Damn. Is Jehovah broke again?                                                                                                                                                                                                  login
                permalink   embed     save

                     [–] FullClockworkOddessy 34 points 7 months ago                                                                                                                                          Submit a new link
                     He loves you and he NEEDS. MONEY!
                     permalink    embed       save    parent                                                                                                                                               Submit a new text post
                            [–] solaceinfaith 11 points 7 months ago

                            George Carlin is smiling
                            permalink   embed        save   parent

                            [–] exjwadastra 8 points 7 months ago
                                                                                                                                                                                              Get an ad-free experience with special
                            What does God need with a starship money?                                                                                                                         benefits, and directly support Reddit.
                            permalink   embed        save   parent
                                                                                                                                                                                                           Get Reddit Premium
                     [–] treesandhappyshit 10 points 7 months ago

                     Jehovah be asking for money more than my deadbeat cousins do
                     permalink    embed       save    parent                                                                                                                               subscribe    33,600 Free Minds
                     [–] Jasperita10 6 points 7 months ago                                                                                                                                   455 Free Minds
                        r/Extj239 subscribersSubscribe
                                                                                                                                                                                         Looking for flair? Simply click the edit link next to
                     Haha. This is the best response I've heard.                                                                                                                         your name above this text.
                     permalink    embed       save    parent

                [–] Truthdoesntchange 45 points 7 months ago
                                                                                                                                                                                         Welcome to the Internet's most comprehensive
                                                                                                                                                                                         resource for ex-Jehovah's Witnesses, a community
                Full page article asks the question “what gift can we give Jehovah?”                                                                                                     for support, recovery and a few laughs along the
                                                                                                                                                                                         way.
                The answer is to give money to watchtower.
                How does this make sense?                                                                                                                                                What /r/exjw is
                permalink   embed     save
                                                                                                                                                                                                 A place for support, comfort and mutual
                     [–] Askmeaboutmy_Beergut           "Somebody's gonna have to give up some booty" -Fleece Johnson       20 points 7 months ago                                               encouragement.
                                                                                                                                                                                                 A place to discuss current events pertaining to
                     "How does this make sense?"                                                                                                                                                 the religion of Jehovah's Witnesses.
                                                                                                                                                                                                 A place for objectivity, questions and answers.
                     "Hi Truthdoesntchange. This is Askmeaboutmy_beergut....your local coordinator of the body of elders. Have you got a minute? We'd                                            A place for fresh, original content.
                     like to speak with you real quick in the back."                                                                                                                             A place where we all follow reddiquette.
                     permalink    embed       save    parent                                                                                                                             Please keep these things in mind as you submit and
                            [–] PeppermintBelle 9 points 7 months ago                                                                                                                    comment. Together we can keep this place
                                                                                                                                                                                         informative and consistent in its high quality.
                            Heehee
                                                                                                                                                                                         Please read and understand the rules before you
                            permalink   embed        save   parent
                                                                                                                                                                                         post or comment in this sub
                            [–] wherearedaemons         it's a cult man!   8 points 7 months ago
                                                                                                                                                                                         !

                            Sorry brother askmeaboutmy_beergut, my pants are really tight and I've gotta get home to get them off. Maybe next meeting!                                   Are you a journalist or researcher seeking
                            permalink   embed        save   parent                                                                                                                       information from our subscriber base? We love to
                                                                                                                                                                                         talk! Please message the mod team HERE so that
                     [–] DornImFleisch        proud apostate husband, son, brother and father      10 points 7 months ago                                                                they can vet you and sticky your request.
                     it makes a lot sense... if your motives are based on the earning of money ;)
                                                                                                                                                                                         Wanna chat? Click to join our Discord chat server!
                     permalink    embed       save    parent
                                                                                                                                                                                         Want something a little more laidback? Check out
                            [–] LiefeCrysis     don't C-Taze-Russel me bro!      8 points 7 months ago
                                                                                                                                                                                         the Teen ExJW Discord Server!
                            Makes a lot of dollars and cents.
                            permalink   embed        save   parent                                                                                                                       The r/exjw Wiki
                     [–] AzazelCipher 10 points 7 months ago

                     It makes sense since Jehovah is the organization the organization is Jehovah so because of that it makes sense. What gift can you




1 of 6                                                                                                                                                                                                                           3/25/19, 4:02 PM
                                      Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
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          give to the organization should be the right wording.                                                                                            The wiki addresses a number of frequently covered
          permalink    embed       save    parent                                                                                                          topics and is actively curated by our users.

                                                                                                                                                           Want to exit? Read the exit guide and get out
                     [–] Gonegirl27       "She's gone, and nothin's gonna bring her back"           1 point 4 months ago
                                                                                                                                                           gracefully.
                     "You are everything, and everything is you."                                                                                          Suicidal Thoughts?
                     permalink     embed        save    parent                                                                                             Being an exjw can bring you to some difficult
                                                                                                                                                           places. If you're in the worst of those places, please
              [–] wherearedaemons           it's a cult man!     10 points 7 months ago                                                                    stop here first.
              Did you notice that they said you can give your time, etc. oh and money. Then: rest of the page is about how to give money.                  Kicked Out?
                                                                                                                                                           If you've been turned out of your home and you
              What about your talents and your time?                                                                                                       have no place to go, this page has some resources
              No the money is most important.                                                                                                              for you.

              Let the rocks cry out I say.                                                                                                                 Young and Trapped? An exit guide for stuck-in
                                                                                                                                                           youths.
              permalink       embed     save     parent
                                                                                                                                                           The /r/exjw Glossary
              [–] Spader312       PIMO      4 points 7 months ago                                                                                          Confused by some of the jargon around here?
                                                                                                                                                           Check out the /r/exjw Glossary.
              Because Watchtower = Jehovah, duh!!
                                                                                                                                                           Related Subreddits
              permalink       embed     save     parent
                                                                                                                                                           A list of sister subreddits and otherwise related
         [–] [deleted] 40 points 7 months ago                                                                                                              subs.
         If God controls everything, all of the time, and can make anything happen, why does he need access to money?                                      Sample These Submissions
         permalink    embed      save                                                                                                                      View some of /r/exjw's all time greatest hits!

              [–] [deleted] 21 points 7 months ago                                                                                                         Check Out These Websites
                                                                                                                                                           Destinations elsewhere on the Web that have the
              he's doesnt want to make it obvious obvious he exsists, never quite get that bit                                                             best content for exjws.
              permalink       embed     save     parent
                                                                                                                                                           Surfing the YouTubes
         [–] wtfnitinfoten     manners maketh man          31 points 7 months ago                                                                          From informative to hilarious, these are some of our
                                                                                                                                                           favorite videos and channels on YouTube.
         “Religion has actually convinced people that there's an invisible man living in the sky who watches everything you do, every minute of
                                                                                                                                                           Recommended Reading
         every day. And the invisible man has a special list of ten things he does not want you to do. And if you do any of these ten things, he           Our list of the best books for exjws across a wide
         has a special place, full of fire and smoke and burning and torture and anguish, where he will send you to live and suffer and burn and           variety of topics.
         choke and scream and cry forever and ever 'til the end of time!
                                                                                                                                                                                                  a community for 10 years
         But He loves you. He loves you, and He needs money! He always needs money! He's all-powerful, all-perfect, all-knowing, and all-wise,             MODERATORS                           message the moderators
         somehow just can't handle money!”                                                                                                                  Upliftingmofo
                                                                                                                                                            AutoModerator
         ― George Carlin
                                                                                                                                                            Busta_Gets_NASTY
         permalink    embed      save                                                                                                                        "Does he have to get nasty?"
              [–] ex-dub      Using a paint sprayer since 2004           19 points 7 months ago                                                             ClosetedIntellectual     Sexual Warrior
                                                                                                                                                            meathead80
                 “Religion has actually convinced people that there's an invisible man living in the sky who watches everything you do, every minute        KustomTiki Ex-Kult Koolsville
                 of every day. And the invisible man has a special list of ten things he does not want you to do. And if you do any of these ten things,    NotListeningItsABook
                 he has a special place, full of fire and smoke and burning and torture and anguish, where he will send you to live and suffer and           Evolution, like the theory of gravity, is a scientific
                 burn and choke and scream and cry forever and ever 'til the end of time!                                                                   TheGreatFraud       molester of bees
                                                                                                                                                            FrodeKommode
              "But He LOVES you!"                                                                                                                           Cylon_Skin_Job_2_10
              I love how George Carlin's tone changes when he says that, with all sincerity. The man was a comedic genius. And so good at making             Internet killed the Biblical Star
              reality obvious, to anyone who actually listens to him.                                                                                                                          about moderation team »

              permalink       embed     save     parent
                                                                                                                                                             <   >   discussions in r/exjw                            X
         [–] lady_Reddragon        My tight pants bring all the Dubs to the Yard         25 points 7 months ago
                                                                                                                                                             318 · 23 comments
         Holy shit! We are one step closer to going into miracle wheat full circle                                                                                     Jehovah’s Witnesses kept secret list of
         permalink    embed      save                                                                                                                                  hundreds of child molestation reports,
                                                                                                                                                                       says report - New York Daily News
              [–] [deleted] 21 points 7 months ago

              "My tight pants bring all the Dubs to the Yard" lmao
              permalink       embed     save     parent

              [–] outofthelie2      stay alive till 2075      3 points 7 months ago

              Miracle wheat ?
              permalink       embed     save     parent

                     [–] lady_Reddragon          My tight pants bring all the Dubs to the Yard       9 points 7 months ago

                     One of the many Scams Watchtower pulled early. Also comes up on the CT Russell wiki article
                     permalink     embed        save    parent

                             [–] outofthelie2     stay alive till 2075      3 points 7 months ago

                             Thanks I thought it was one of those new scam religions Thing on late night t v
                             permalink     embed       save    parent

                                  [–] lady_Reddragon            My tight pants bring all the Dubs to the Yard     4 points 7 months ago

                                  Nope, i know that during the Rutherford era there were promotions for products and ads at the magazines.
                                  permalink      embed        save    parent

                                          [–] outofthelie2       stay alive till 2075   2 points 7 months ago

                                          Thanks I’ll look it up
                                          permalink       embed      save    parent

         [–] Tacodetripas      The Half-Blood Witness         24 points 7 months ago

         Jehovah is suppose to be this all powerful being with the power to create and destroy life, bend time and space at will.
         He can bless his followers with the best life ever.
         But he needs money?? Boyy ain't that some shit haha
         permalink    embed      save

         [–] [deleted] 21 points 7 months ago

         This is so fucking gross.
         permalink    embed      save




2 of 6                                                                                                                                                                                          3/25/19, 4:02 PM
                                      Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
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         [–] tightpantsandbeards 22 points 7 months ago

         Horrible flashbacks to when I got my first job and had my first salary my mom made me promise aka forced me to give Jojoba part of
         my salary 😭😭😭😭😭
         permalink     embed     save

               [–] marxiategui      Take those tight pants off!! [      ] 6 points 7 months ago

              Johoba™
               permalink     embed      save    parent

                       [–] MemesTickleTheParson          The Writing Is On the Wall       10 points 7 months ago

                       Jehobo would be more fitting here, since hobos are generally penniless.
                       permalink   embed       save    parent

               [–] PurplePooch 4 points 7 months ago

              I thought giving was meant to be between the giver and Jehovah.
               permalink     embed      save    parent

         [–] cat-gir    Faded POMO       20 points 7 months ago

         This isn’t even trying to disguise what they are doing. Full on begging �
         permalink     embed     save

               [–] FullClockworkOddessy 13 points 7 months ago

              Digital panhandling.
               permalink     embed      save    parent

         [–] lancegalahadx 13 points 7 months ago

         As deluded as they are, the org probably doesn’t consider this ‘begging’.
         I guess Chuck Russell’s comments about if God, who owns everything, fails to provide, we will cease publication.
         Oh, that’s right — their publishing is heading towards zero.
         Praise the universe when that day comes!
         permalink     embed     save

               [–] BeautifulObligation 4 points 7 months ago

              If only I could get that quote in writing I would showing it around the hall... is in in a watchtower somewhere?
               permalink     embed      save    parent

                       [–] PeppermintBelle 20 points 7 months ago*

                       Found on the online library: "Zion's watchtower' has, we believe, Jehovah for its backer, and while this is the case it will never beg nor
                       petition men for support. When He who says: 'All the gold and silver of the mountains are mine,' fails to provide necessary funds, we
                       will understand it to be time to suspend the publication."
                       1975 Yearbook pp 36-41
                       permalink   embed       save    parent

                            [–] [deleted] 7 months ago

                             [deleted]

                                   [–] Spader312       PIMO      3 points 7 months ago

                                   Publication not printing
                                   permalink    embed        save

                                   [–] PeppermintBelle 2 points 7 months ago

                                   😅😅😅
                                   permalink    embed        save

                            [–] Sigh_2_Sigh 3 points 7 months ago

                            I have a sneaking suspicion that this is why 'they' decided that the faithful slave consists of a group of men who hang out in the main
                            offices [& here's the important part] since 1919 - according to the 'new light'. Planning to eventually delete everything Russel said. Not
                            that they mind pyramids, miracle wheat, 1914 bringing the rapture, etc., it's that damn comment about never asking for money!
                            permalink     embed       save    parent

                                   [–] PeppermintBelle 5 points 7 months ago

                                   I'm planning on creating a file to archive this kind of stuff. I'm sure others are already doing it.
                                   permalink    embed        save    parent

                                         [–] MultiStratz      Returned Visitor      2 points 7 months ago

                                        That would be great! Keep me posted please, as I would find that useful!
                                         permalink       embed      save   parent

                                         [–] momofpug 1 point 2 months ago

                                        That would ne awesome. If it is possible to tag me somehow I would like to have access to it. I am not good at all at knowing how to
                                        archive etc
                                         permalink       embed      save   parent

                       [–] AzazelCipher 4 points 7 months ago

                       I think its in an old book not in a zion
                       permalink   embed       save    parent

         [–] AzazelCipher 10 points 7 months ago*

         I think its a typo, they need to change Jehovah to Organization.
         What gift can you give to the ORGANIZATION of Jehovah?
         Well money of course there is more joy in giving us your cash than on you spending such cash. Your loving Governing Body of brothers
         at JW.borg headquarters.
         permalink     embed     save

         [–] Guiltless0183     Keep your eyes on the prize          11 points 7 months ago

         Uh oh... Sounds like there are some more abuse settlements looming on the horizon...
         permalink     embed     save




3 of 6                                                                                                                                                                         3/25/19, 4:02 PM
                                      Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
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         [–] trwayblahblah 10 points 7 months ago

         I want a refund for my wasted years, my family that I have lost due to shunning and every damn dollar I ever donated and every stupid
         penny spent on uncomfortable panty hose since bare legs offend.
         permalink   embed       save

              [–] AzazelCipher 3 points 7 months ago

              Lol yeah pantyhose are expensive. I think its to make the legs more attractive than offensive naked ones.
              permalink    embed        save    parent

              [–] MultiStratz     Returned Visitor       2 points 7 months ago

              Yes please on this.
              permalink    embed        save    parent

         [–] leveltheplayingfield 9 points 7 months ago

         I know in the past we said that those damn TV church people were greedy for money, but, ah, right now, we need the same. So, if you
         could, just type in your credit card number online and pay us some fricken money, cause we broke man. Come on, Jesus needs some
         dough.
         permalink   embed       save

         [–] [deleted] 7 months ago

         [deleted]

              [–] CuratorOfYourDreams           Ex-Mormon        3 points 7 months ago

              Good human
              permalink    embed        save

         [–] Godofwine3eb 9 points 7 months ago

         Hey guys, we are different from other religions ! We don't tithe, we don't pass a plate, we don't beg........anyway here are a few scritures
         that show we are different and only on a "donation basis" yet another term we coined to make it sound like we don't beg for money in
         the name of god! It's different though! It's the truth,that makes our lying assholiery okay! Que fake smile,forced happiness and a side of
         love bombing. AND SCENE!
         permalink   embed       save

         [–] Venom-99 6 points 7 months ago

         They must be really strapped for cash at this point. Or just greedy. Either way, they won’t be getting another cent from me.
         permalink   embed       save

              [–] outofthelie2     stay alive till 2075      9 points 7 months ago

              Oh I give them my .02cents everyday
              permalink    embed        save    parent

                     [–] arseniobillingham21 2 points 7 months ago

                     Is that 2 cents, or .02 cents? https://youtu.be/MShv_74FNWU
                     permalink    embed        save    parent

                          [–] outofthelie2       stay alive till 2075   2 points 7 months ago

                          Watched the vid It’s excellent, thanks
                          permalink      embed        save    parent

         [–] JohnRJay 7 points 7 months ago

         Material resources! Valuable things! Why can't they just say MONEY?
         permalink   embed       save

              [–] AzazelCipher 5 points 7 months ago

              Money sounds like they are not keeping their promise of never asking for such things.
              permalink    embed        save    parent

         [–] warranpiece 8 points 7 months ago

         "But we don't have donation plates".
         Nobody does dummies.
         permalink   embed       save

         [–] adifferentkindoffine 6 points 7 months ago

         Jehovah needs to get a real job and stop asking for hand outs.
         permalink   embed       save

         [–] RodgerGoode        Hey! Must be the Money         6 points 7 months ago

         Rather: What does Jehovah's imperfect, uninspired organisation give to you? Hmmm - NOT MUCH !!!!! Besides a broken family, guilt
         trips, risk of death, dangerous environment for children, conditional love training and no career....
         permalink   embed       save

         [–] [deleted] 11 points 7 months ago

         who the fuck is JW?
         when I started studying it was always the sanctification of gods name
         permalink   embed       save

              [–] toddy-GA 5 points 7 months ago

              JW Marriott
              permalink    embed        save    parent

              [–] AzazelCipher 5 points 7 months ago

              Jeorge Washington
              permalink    embed        save    parent

              [–] wherearedaemons          it's a cult man!     3 points 7 months ago

              Jurassic World
              permalink    embed        save    parent

              [–] MultiStratz     Returned Visitor       4 points 7 months ago




4 of 6                                                                                                                                                  3/25/19, 4:02 PM
                                      Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
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          Johnny Walker
          permalink    embed      save    parent

         [–] lapilli1 10 points 7 months ago

         Besides the churches that have compulsory tithing, this brings wt to the top ranks of beggars. In a sense this is more fraudulent, since
         wt asks people to give money to God, using a personal name, Jehovah, when the money can only be sent to corporations with officers
         named Leon Weaver Jr and Bob Ciranko, who do the bidding of Sam/Gerry/Dave/Steve/Tony/Geoff/Mark......
         permalink    embed     save

         [–] AntRid   Living in the Real World      4 points 7 months ago

         This isn't new, go back 15 years or so and every mag had a subscription service with customer testimonials on the back or adverts for
         their books.
         permalink    embed     save

         [–] Pig-in-a-Poke     heading to hell in a handbaskst       5 points 7 months ago

         Jehovah needs new finance managers
         permalink    embed     save

         [–] MemesTickleTheParson          The Writing Is On the Wall      5 points 7 months ago

         This is getting dangerously close to "sale of indulgences" territory.
         I'd very much like to get Martin Luther's take on this article.
         permalink    embed     save

         [–] Overcrapping 5 points 7 months ago

         So there is more "happiness in giving than receiving" eh?
         Well, give my mum's congregation their kingdom hall back you money grabbing bastards.
         Then see how happy you will be.
         permalink    embed     save

         [–] PurplePooch 5 points 7 months ago

         I haven’t read everyone’s comments yet because I just felt ragey. JW org always prided itself (I thought) on not soliciting donations.
         Followers are taught that Jehovah will provide for them financially if they are faithful to Him. So why does the WT need $ - can’t
         Jehovah provide it? I just feel so disgusted seeing that ad. I never remember seeing anything like it - donation boxes used to be fairly
         discreet, and the giving discreet. JW’s held their noses in the air over churches who pass collection plates and ask for tithes.
         Didn’t Jesus overthrow the sellers in the temple? How is this any different?
         permalink    embed     save

         [–] [deleted] 7 months ago

         [deleted]

              [–] AlienSausage        Let's review: It's a cult!   3 points 7 months ago

              Anyone who is PIMO and goes to meetings should totally start making big cheques out to "Jehovah". When the elders come around
              and try and make you change it to Watchtower et all you can tell them to get fucked.
              permalink      embed     save

         [–] MatthiasChareezy      Shunned Son [         ] 4 points 7 months ago

         I like how they make it seem like your donation can go to any of those 4 wonderful causes but they all funnel into the same bank
         account.
         permalink    embed     save

         [–] [deleted] 4 points 7 months ago

         Jehovah I'm busy. Can I ignore you some other time?
         Jehovah, my middle finger gets a boner every time you ask me for money.
         permalink    embed     save

         [–] kakonthewarrior 4 points 7 months ago

         November 15 Watchtower has had this feature as long as I remember. It’s actually kinda dialed back for them.
         permalink    embed     save

         [–] merryxmasheathens 5 points 7 months ago

         Someone should replace the QR code
         permalink    embed     save

         [–] elderonhiswayout      Now ex-elder. Yay!       4 points 7 months ago

         Interesting, the November Watchtower was always used to 'advertise' the methods by which it is possible to donate to Watchtower. But
         the difference here is that no mention is made of bequeathing assets etc. That, together with the brazen tone of this article, is further
         indication that they are cash-strapped!
         They don't have time to wait for you to die and hand over your property which they will then have to sell. No. They need your cash.
         NOW.
         permalink    embed     save

         [–] CallsignViperrr    I'm your Huckleberry!       3 points 7 months ago

         No shame. None. ZERO.
         permalink    embed     save

         [–] exjwprisoner 5 points 7 months ago

         Didn't Russel say when they have to start begging for money that would be the sign to close the doors???
         permalink    embed     save

              [–] AzazelCipher 2 points 7 months ago

              Yes, but they are not begging they are just asking. There is a difference after all.
              permalink      embed     save    parent

         [–] killinghurts 3 points 7 months ago

         What happened to "We don't ask for donations" ...?!!
         permalink    embed     save




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                                     Case 3:19-mc-80005-SK Document 8-3https://old.reddit.com/r/exjw/comments/943s0v/w...
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               [–] blcfla 4 points 7 months ago

              We just guilt �
               permalink     embed     save    parent

         [–] AlienSausage      Let's review: It's a cult!   3 points 7 months ago

         Does Jehovah have a bank account? Let me guess, it's a joint account with Watchtower affiliates.
         permalink    embed     save

               [–] blcfla 2 points 7 months ago

              Uhhh yes they have been ‘directed’ to collect on his behalf!
               permalink     embed     save    parent

         [–] stephengee 3 points 7 months ago

         Does anyone else remember that old Watching the World blurb about how shameful it was that worldly churches had credit card
         donations, even doing automatic payments?
         Oh how hypocritical they've become.
         permalink    embed     save

               [–] AzazelCipher 2 points 7 months ago

              I dont recall but they do have automatic payment methods. I remember a YouTube video about it.
               permalink     embed     save    parent

         [–] th-inc   �     3 points 7 months ago

            Today's goal: $ 4,000
         permalink    embed     save

         [–] Jennsinc 2 points 7 months ago

         I remember growing up the Gift we could give Jehovah was our heart. Boy times have changed.
         permalink    embed     save

         [–] JulesPetyt 2 points 7 months ago

         when I was still in- well over 20 years ago- this would never have happened. Shameless
         permalink    embed     save

               [–] [deleted] 7 months ago

               [deleted]

                      [–] JulesPetyt 1 point 7 months ago

                      sneaky!
                      permalink    embed      save

         [–] cgar94 2 points 7 months ago

         Makes cents to me
         permalink    embed     save

         [–] outofthelie2    stay alive till 2075    2 points 7 months ago

         2 cents
         permalink    embed     save




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